

People v Burney (2022 NY Slip Op 02736)





People v Burney


2022 NY Slip Op 02736


Decided on April 22, 2022


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 22, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., PERADOTTO, LINDLEY, CURRAN, AND WINSLOW, JJ.


1170 KA 19-00551

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vGARY D. BURNEY, DEFENDANT-APPELLANT. (APPEAL NO. 2.) 






THE LEGAL AID BUREAU OF BUFFALO, INC., BUFFALO (ADAM AMIRAULT OF COUNSEL), FOR DEFENDANT-APPELLANT. 
LAWRENCE FRIEDMAN, DISTRICT ATTORNEY, BATAVIA (ROBERT J. SHOEMAKER OF COUNSEL), FOR RESPONDENT.


	Appeal from a judgment of the Genesee County Court (Charles N. Zambito, J.), rendered January 29, 2019. The judgment convicted defendant, upon a jury verdict, of burglary in the second degree. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed.
Same memorandum as in People v Burney ([appeal No. 3] — AD3d — [Apr. 22, 2022] [4th Dept 2022]).
Entered: April 22, 2022
Ann Dillon Flynn
Clerk of the Court








